               Case 8:20-cv-00322-JWH-GJS Document 135 Filed 05/05/22 Page 1 of 2 Page ID #:1870


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                    7         Attorneys for Defendant
                    8         COUNTY OF ORANGE; DON BARNES; WILLIAM BAKER; JOE
                              BALICKI; MARK STICHTER; REYNA RIVERA; DEVONNA FALCONER;
                    9         KASSANDRA MAYER; ELIA RODRIGUEZ; and RACHEL ADDINGTON
                    10
                                                      UNITED STATES DISTRICT COURT
                    11

                    12
                                               DISTRICT OF CALIFORNIA, CENTRAL DISTRICT

                    13        JANE DOE,                              )   CASE NO. 8:20-cv-00322-JWH (GJS)
                    14
                                                                     )   [Assigned to Judge John W. Holcomb
                                                   Plaintiffs,       )   Courtroom 2]
                    15                                               )
                    16
                                         vs.                         )   JOINT NOTICE OF NON-
                                                                     )   SETTLEMENT
                    17        COUNTY OF ORANGE; DON                  )
                    18
                              BARNES; WILLIAM BAKER; JOE             )   Complaint Filed: 2/18/20
                              BALICKI; MARK STICHTER; and            )   Trial Date:      None
                    19        DOES 1-10, inclusive,                  )
                    20
                                                                     )
                                                   Defendants.       )
                    21                                               )
                    22
                                                                     )

                    23                   TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
                    24        RECORD HEREIN:
                    25                   PLEASE TAKE NOTICE THAT Plaintiff Jane Doe, in pro se (“Plaintiff”),
                    26        and Defendants County of Orange, Don Barnes, William Baker, Joe Balicki, Mark
                    27        Stichter, Reyna Rivera, Devonna Falconer, Kassandra Mayer, Elia Rodriguez, and
                    28        Rachel Addington (collectively, “Defendants”), by and through their counsel of record
                              FILE # 22348
750 The City Drive, Ste 400
Orange, CA 92868-4940                                                  1
Phone (714) 823-4100
Fax    (714) 823-4101                                  JOINT NOTICE OF NON-SETTLEMENT
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                    1         herein, Rebecca J. Chmura, Esq., Collins + Collins, LLP, per Doc. 131, hereby advises
                    2         and notifies this Court and the District Judge John W. Holcomb that Plaintiff and
                    3         Defendants attended a Settlement Conference on May 4, 2022. Further, it is hereby
                    4         advised and notified of the unsuccessful effort to settle the case during such
                    5         conference.
                    6

                    7         DATED: 5/5/2022
                    8
                                                                  By: /s/ Jane Doe
                    9                                                   JANE DOE
                    10                                                  Plaintiff in Pro Se

                    11

                    12

                    13        DATED: 5/5/2022                     COLLINS + COLLINS LLP
                    14

                    15

                    16                                            By: ____________________________________

                    17                                                  MICHAEL L. WRONIAK
                    18                                                  Attorneys for Defendant COUNTY OF
                                                                        ORANGE; DON BARNES; WILLIAM
                    19                                                  BAKER; JOE BALICKI; MARK
                    20                                                  STICHTER; REYNA RIVERA;
                                                                        DEVONNA FALCONER; KASSANDRA
                    21                                                  MAYER; ELIA RODRIGUEZ; RACHEL
                    22                                                  ADDINGTON
                    23

                    24

                    25

                    26

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                    28
                              FILE # 22348
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Orange, CA 92868-4940                                                2
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Fax    (714) 823-4101                                JOINT NOTICE OF NON-SETTLEMENT
